Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 1 of 41 PageID #: 233




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


    Dontae Teel

                  Plaintiff


    v.                                                             Civil Action No.
                                                                   4:19-cv-00189-ALM-KPJ

    Healthcare Revenue
    Recovery Group, LLC d/b/a
    ARS Account Resolution Services


    And;                                                          Complaint

                                                                  and;

    Experian Information Solutions, Inc.                          Demand for Jury Trial

                Defendants



                              SECOND AMENDED COMPLAINT


           NOW COMES Plaintiff, Dontae Teel, (hereafter the “Plaintiff”) by and through

    undersigned Counsel, whom through this complaint against the Defendants alleges the

    following:


         PRELIMINARY STATEMENT

           1.        This is an action for actual, statutory and punitive damages, costs, and

    Attorneys’ fees brought pursuant to 15 U.S.C. §1681 et seq. (Federal Fair Credit




                                                    1
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 2 of 41 PageID #: 234



    Reporting Act) and for actual, statutory and punitive damages, costs, and Attorneys’ fees

    pursuant to 15 U.S.C. §1692 (Federal Fair Debt Collection Act).

       JURISIDICTION AND VENUE

         2.        Jurisdiction of this Court is conferred by 15 U.S.C. §1681(p), 15 U.S.C.

    1692k(d), and 28 U.S.C. §1331.

         3.        Venue in this District is appropriate under 28 U.S.C. §1391(b)(1) because

    all defendants in this matter reside in the state of Texas as defined under 28 U.S.C.

    §1391. Furthermore, Experian Information Solutions, Inc.’s main office, from which the

    underlying disputes were processed, is in Allen, Texas which is in the Eastern District of

    Texas. Healthcare Revenue Recovery Group, LLC d/b/a as ARS Account Resolution

    Services is actively collecting debts in Texas, including those of Consumers located in

    the Eastern District of Texas.

       PARTIES

         4.        Plaintiff is a natural person and citizen of the United States of America.

    Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §1681a(c) and 15 U.S.C.

    §1692a (3).

         5.        Defendant EXPERIAN INFORMATION SOLUTIONS, INC, (hereafter

    EXPERIAN) is a foreign For-Profit Corporation registered to do business and doing

    business in Texas. Defendant is a “consumer reporting agency”, as defined by 15 U.S.C

    §1681a(f) and is engaged in the business of assembling, evaluating, and disbursing

    information concerning consumers for the purpose of furnishing consumer reports, as

    defined in 15 U.S.C. §1681a(d) to third parties.




                                                       2
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 3 of 41 PageID #: 235



          6.        Defendant, Healthcare Revenue Recovery Group d/b/a as ARS

    Account Resolution Services, (hereinafter ARS), is a “debt collector”, as defined by 15

    U.S.C §1692a(6) and is engaged in the business with the purpose of which is the

    collection of debts, or who regularly collects or attempts to collect, directly or indirectly,

    debts owed or due or asserted to be owed or due another. Defendant is currently doing

    business in Texas.

          FACTUAL ALLEGATIONS

          7.        Plaintiff incorporates the foregoing paragraphs as though the same were

    set forth at length herein.

          8.        EXPERIAN did not follow reasonable procedures to assure maximum

    possible accuracy and has been reporting false and inaccurate information even after it

    has known or should have known the information was incorrect.

          PLAINTIFF’S DISPUTES

          9.        Plaintiff disputed information regarding their ARS Acct# ****8098 with

    and through EXPERIAN on 05/31/2017.

          Plaintiff disputed the inaccurate “Date of Status” and “First Reported/Reported

    Since” dates that were being reported on their EXPERIAN credit report. ARS and

    EXPERIAN did not provide a good faith investigation into the disputed account as

    required by the Fair Credit Reporting Act. It should be noted that EXPERIAN uses the

    terms “Reported Since” and “First Reported” interchangeably on its reports depending on

    whether they are obtained online or through the mail. Therefore “Reported Since” and

    “First Reported” will be used interchangeably throughout this Complaint to refer to the

    same data field in Plaintiff’s Experian credit report.




                                                      3
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 4 of 41 PageID #: 236



         10.       The Plaintiff obtained a new credit report on 06/17/2017 displaying the

    results of their dispute of the ARS account.

        11.        The Plaintiff received their result on the date listed above in the

    immediately preceding paragraph and not only did ARS and EXPERIAN not correct,

    modify or delete the disputed information on Plaintiff’s Experian Credit Reports, but they

    changed the “Date of Status” and the “First Reported” dates due to Plaintiff’s dispute.

    The changes for the Plaintiff were as follows:

         A)        Date of Status Changed from 05/2017 to 06/2017;
         B)        First Reported Changed from 05/2017 to 06/2017.

         ARS is changing dates that should not be changed and EXPERIAN is allowing

    ARS to change dates based on Plaintiffs’ statutory right to dispute inaccurate credit

    information. ARS and EXPERIAN are penalizing Plaintiff for exercising their statutory

    right to dispute inaccurate information on their credit report. ARS and EXPERIAN are

    re-aging Plaintiffs’ ARS accounts with every dispute.

         12.       EXPERIAN did not provide a good faith investigation into the ARS Acct#

    ****8098.

         13.       ARS did not provide a good faith investigation into the ARS

    Acct# ****8098.

         14.       ARS is re-aging Plaintiffs accounts by changing their Date of Status date,

    as well as, the First Reported dates. EXPERIAN is allowing ARS to re-age the Date of

    Status date, as well as, the First Reported date.

         15.       ARS is providing credit information that they know or should know is

    inaccurate and misleading.




                                                        4
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 5 of 41 PageID #: 237



         16.       The Date of Status date on the Plaintiff’s credit report should reflect the

    date when the accounts went uncollectible.

         17.       The Date First Reported is the first time an account is reported with

    EXPERIAN, that date should never change.

         18.       ARS is falsely and misleadingly reporting the character and/or legal status

    of these alleged debts by re-aging the accounts.

         19.       The Date of Status date should be the day the debt was deemed

    uncollectable. ARS changes those dates to re-age the accounts and EXPERIAN allows

    ARS to re-age the accounts by changing the Date of Status dates. Please see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 725 (S.D. Tex. 2013) (“‘Date of

    Status' is a date that should mark the day a debt was deemed uncollectible and thus

    charged off.” A creditor presented with Toliver's EXPERIAN credit report could

    reasonably interpret the “Date of Status” entry to mean exactly that”)

         20.       Re-aging accounts by changing the Date of Status dates are misleading.

    Please see Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 727 (S.D.

    Tex. 2013) (“Date of Status” entry was “misleading in such a way and to such an extent

    that it can be expected to adversely affect credit decisions.”)

         21.       EXPERIAN should have discovered the misleading information if they

    would have provided a good faith reasonable investigation. Please see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 732 (S.D. Tex. 2013) (Toliver's

    EXPERIAN credit reports contained a “Date of Status” that a reasonable jury could find

    misleading, and EXPERIAN “could have uncovered the inaccuracy ‘if it had reasonably




                                                       5
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 6 of 41 PageID #: 238



    reinvestigated the matter.’ ” DeAndrade, 523 F.3d at 68 (quoting Cushman, 115 F.3d at

    226).)

         22.       ARS also changed the Date “First Reported” and EXPERIAN allowed

    ARS to change the Date First Reported. There is only one First Reported date. Please see

    Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 731 (S.D. Tex. 2013)

    (“First Reported” entry is meant to reflect the date that the creditor first reported the

    account to EXPERIAN. EXPERIAN should know this date).; Please also see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 722 (S.D. Tex. 2013) (the “First

    reported” entry should reflect either the date that LVNV first reported the account on her

    credit report or the date that the debt was first reported as a major delinquency with ARS,

    the original creditor)

         23.       These accounts are not only inaccurate but also misleading, which the

    Fifth Circuit has addressed. The Fifth Circuit ruled that even a technical accuracy can be

    so misleading to the point that it is no longer accurate, please see Sepulvado vs. CSC

    Credit Services, 158 F.3d 890, 895 (5th Cir. 1988), a consumer report is inaccurate if it is

    “misleading in such a way and to such an extent that it may be expected to adversely

    affect credit decisions”

         24.       ARS did not conduct a good faith and reasonable investigation and did not

    delete or correct the false information but instead re-aged the dates on the accounts and

    EXPERIAN continues to report the inaccurate information.

         25.       The reporting of this credit information on Plaintiffs credit reports

    negatively reflects upon the Plaintiffs, Plaintiffs’ credit repayment history, Plaintiffs’

    financial responsibility as a debtor and Plaintiffs’ credit worthiness. This information




                                                     6
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 7 of 41 PageID #: 239



    was furnished by ARS and reported by EXPERIAN, misrepresenting the payment history

    and/or status of Plaintiffs’ accounts, and is currently being reported and is reflected on

    Plaintiffs’ credit reports, resulting in lowering Plaintiffs’ credit score and furthering

    Plaintiffs’ damages.

            26.    Plaintiff’s credit reports and file have been obtained from credit reporting

    agencies and have been reviewed by known and unknown, prospective and existing credit

    grantors and extenders of credit, and the inaccurate information furnished by ARS and

    reported by EXPERIAN and is continuing to damage the Plaintiff’s credit rating.

            27.     As a result of conduct of EXPERIAN, Plaintiffs have suffered great

    physical, emotional and mental pain and anguish, all to Plaintiffs’ great detriment and

    loss.

            28.     As a result of the conduct of ARS, Plaintiffs have suffered actual

    damages all to Plaintiffs’ great detriment and loss.

            29.     At all times pertinent hereto, Defendants were acting by and through their

    agents, servants, and/or employees who were acting within the course and scope of their

    agency or employment, and under the direct supervision and control of the Defendants

    herein.

            30.     At all times pertinent hereto, the conduct of the Defendants, as well as,

    that of their agents, servants and/or employees, was malicious, intentional, willful,

    reckless, and in grossly negligent disregard for federal laws and the rights of the Plaintiff

    herein.

              CAUSES OF ACTION




                                                     7
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 8 of 41 PageID #: 240



          31.       Plaintiffs incorporate the foregoing paragraphs as though the same were

    set forth at length herein.

          32.       This suit is based upon the Defendants violation of the Fair Credit

    Reporting Act. All causes of action were causes of the damages which Plaintiffs have

    suffered.

                     Count I: Fair Credit Reporting Act

          33.       Plaintiffs incorporate the foregoing paragraphs as though the same were

          set forth at length herein.

          34.       This suit is brought against the Defendants as the damages made the basis

    of this suit were caused by their violation of the FCRA. In all instances of violating the

    FCRA, Defendants did so willfully and/or negligently. Under, 15 U.S.C. §1681n and

    §1681o, the Plaintiff is entitled to recover actual damages, punitive damages, and

    reasonable attorney’ s fees.

          15 U.S.C. §1681n, “Civil Liability for Willful Noncompliance” reads:

                     (a)    Any person who willfully fails to comply with any requirement
                imposed under this title with respect to any consumer is liable to that
                consumer in an amount equal to the sum of

                             (1)     any actual damages sustained by the consumer as a result
                        of the failure or damages of not less than $100 and not more than
                        $1000

                              (2)       such amount of punitive damages as the court may allow;
                        and

                               (3)   in the case of any successful action to enforce any
                        liability under this section, the costs of the action together with
                        reasonable attorney’s fees as determined by the court.

          And, 15 U.S.C. §1681o, “Civil Liability for Negligent Noncompliance” reads:




                                                       8
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 9 of 41 PageID #: 241



                   (a)     Any person who is negligent in failing to comply with any
           requirement imposed under this title with respect to any consumer is liable to that
           consumer in an amount equal to the sum of:

                              (1)     any actual damages sustained by the consumer as a result
                        of the failure; and

                               (2)   in the case of any successful action to enforce any
                        liability under this section, the costs of the action with reasonable
                        attorney’s fees as determined by the court.

         35.       EXPERIAN violated its duty under 15 U.S.C. §1681i(a)(1)(a) to conduct a

    good faith investigation into Plaintiff’s notice of dispute.

         36.       Plaintiffs disputed information regarding their ARS Acct# ****8098 with

    and through EXPERIAN, on the following dates on 05/31/2017;

         Each of these Plaintiffs disputed the inaccurate “Date of Status” and “First

    Reported/Reported Since” dates that were being reported on their EXPERIAN credit

    reports. ARS and EXPERIAN did not provide a good faith investigation into the disputed

    accounts as required by the Fair Credit Reporting Act.

           37.     The Plaintiff obtained a new credit report on 06/17/2017 displaying the

    results of their dispute of the ARS account.

         38.       The Plaintiff received their results on the date listed above in the

    immediately preceding paragraph and EXPERIAN not only failed to correct, modify or

    delete the disputed information on Plaintiff’s Experian Credit Report, but they changed

    the “Date of Status” and the “First Reported” dates due to Plaintiffs’ disputes. The

    changes for the Plaintiffs were as follows:

         PLAINTIFF         A)      Date of Status Changed from 05/2017 to 06/2017;
                           B)      First Reported Changed from 05/2017 to 06/2017.




                                                      9
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 10 of 41 PageID #: 242



        ARS is changing dates that should not be changed and EXPERIAN is allowing ARS

    to change dates based on Plaintiffs’ statutory right to dispute inaccurate credit

    information. ARS and EXPERIAN are penalizing Plaintiffs for exercising their statutory

    right to dispute inaccurate information on their credit reports. ARS and EXPERIAN are

    re-aging Plaintiffs’ ARS accounts with every dispute.

         39.       The date of status date should be the day the debt was deemed

    uncollectable. ARS changes those dates to re-age the accounts and EXPERIAN allows

    ARS to re-age the accounts by changing the date of status dates. Please see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 725 (S.D. Tex. 2013)(“‘Date of

    Status' is a date that should mark the day a debt was deemed uncollectible and thus

    charged off.” A creditor presented with Toliver's EXPERIAN credit report could

    reasonably interpret the “Date of status” entry to mean exactly that”)

         40.       Re-aging accounts by changing the date of status dates are misleading.

    Please see Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 727 (S.D.

    Tex. 2013) (“Date of Status” entry was “misleading in such a way and to such an extent

    that it can be expected to adversely affect credit decisions.”)

         41.       EXPERIAN should have discovered the misleading information if they

    would have provided a good faith reasonable investigation. Please see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 732 (S.D. Tex. 2013)(Toliver's

    EXPERIAN credit reports contained a “Date of Status” that a reasonable jury could find

    misleading, and EXPERIAN “could have uncovered the inaccuracy ‘if it had reasonably

    reinvestigated the matter.’” DeAndrade, 523 F.3d at 68 (quoting Cushman, 115 F.3d at

    226).)




                                                     10
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 11 of 41 PageID #: 243



         42.       ARS also changed the Date “First Reported” and EXPERIAN allowed

    ARS to change the Date First Reported. There is only one first reported date. Please see

    Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 731 (S.D. Tex. 2013)

    (“First Reported” entry is meant to reflect the date that the creditor first reported the

    account to EXPERIAN. EXPERIAN should know this date.); Please also see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 722 (S.D. Tex. 2013) (the “First

    reported” entry should reflect either the date that LVNV first reported the account on her

    credit report or the date that the debt was first reported as a major delinquency with ARS,

    the original creditor)

         43.       If        EXPERIAN would have conducted a reasonable and good faith

    investigation, they should have determined that ARS was changing dates that should not

    be changed and providing them with inaccurate data.

         The section entitled “Procedure in Case of Disputed Accuracy” under 15 U.S.C.

    §1681i(a)(1)(A) reads:


                  (a) Reinvestigations in case disputed information

                        (1) Reinvestigation required

                        (A) In general-- Subject to subsection
                        (f), if the completeness or accuracy of any item of information
                        contained in a consumer's file at a consumer reporting agency is
                        disputed by the consumer and the consumer notifies the agency
                        directly, or indirectly through a reseller, of such dispute, the agency
                        shall, free of charge, conduct a reasonable reinvestigation to determine
                        whether the disputed information is inaccurate and record the current
                        status of the disputed information, or delete the item from the file in
                        accordance with paragraph (5), before the end of the 30 day period
                        beginning on the date on which the agency receives the notice of the
                        dispute from the consumer or reseller.




                                                     11
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 12 of 41 PageID #: 244



         The re-aging and manipulating of the dates artificially lowered Plaintiffs’ credit

    scores more than if the accounts were being reported accurately, as well as, making the

    accounts seem more recently delinquent than they really are to potential creditors,

    causing them damage.

         44.     ARS violated its duty under 15 U.S.C. §1681s-2(b) to conduct a good faith

    investigation into Plaintiff’s notice of dispute and failing to delete or correct the

    inaccurate information. After receiving a dispute notice from EXPERIAN, ARS did not

    conduct a complete, accurate or reasonable investigation into the disputed issue. ARS

    did not give a good faith and reasonable investigation into the inaccurate information that

    was disputed by Plaintiffs’ on the dates listed for each Plaintiff in Paragraph 36. ARS

    should have discovered that the information they are providing the Credit Bureaus was

    not accurate. ARS is re-aging the accounts of Plaintiffs to a date that is more recent than

    legally accurate. For ARS to be liable under 15 U.S.C. §1681, Plaintiffs must dispute the

    accounts with EXPERIAN, EXPERIAN then contacts ARS regarding the dispute and

    ARS should conduct a good faith and reasonable “investigation” as well and then

    provides EXPERIAN with corrected credit data or delete the trade line. The credit data

    that ARS is providing EXPERIAN is false, misleading and inaccurate and if ARS would

    have conducted a good faith, reasonable investigation, they would have discovered the

    inaccurate data.

         45.       Plaintiff disputed information regarding their ARS Acct# ****8098 with

    and through EXPERIAN, on 05/31/2017.

         Each of these Plaintiffs disputed the inaccurate “Date of Status” and “First

    Reported/Reported Since” dates that were being reported on their EXPERIAN credit




                                                    12
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 13 of 41 PageID #: 245



    reports. ARS and EXPERIAN did not provide a good faith investigation into the disputed

    accounts as required by the Fair Credit Reporting Act.

          46.       The Plaintiff’s obtained new credit report on 06/17/2017 displaying the

    results of their dispute of the ARS account.

         47.        The Plaintiff received their results on the date listed above in the

    immediately preceding paragraph and not only did ARS and EXPERIAN not correct,

    modify or delete the disputed information on Plaintiffs’ Experian Credit Reports, but they

    changed the “Date of Status” and the “First Reported” dates due to Plaintiff’s disputes.

    The changes for the Plaintiffs were as follows:

                       A) Date of Status Changed from 05/2017 to 06/2017;
                       B) First Reported Changed from 05/2017 to 06/2017.

                ARS is changing dates that should not be changed and EXPERIAN is allowing

    ARS to change dates based on Plaintiffs’ statutory right to dispute inaccurate credit

    information. ARS and EXPERIAN are penalizing Plaintiffs for exercising their statutory

    right to dispute inaccurate information on their credit reports. ARS and EXPERIAN are

    re-aging Plaintiffs’ ARS accounts with every dispute.

         48.        The date of status date should be the day the debt was deemed

    uncollectable. ARS changes those dates to re-age the account and EXPERIAN allows

    ARS to re-age the account by changing the date of status dates. Please see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 725 (S.D. Tex. 2013) (“‘Date of

    Status' is a date that should mark the day a debt was deemed uncollectible and thus

    charged off.” A creditor presented with Toliver's EXPERIAN credit report could

    reasonably interpret the “Date of status” entry to mean exactly that”)




                                                      13
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 14 of 41 PageID #: 246



         49.       Re-aging accounts by changing the date of status dates are misleading.

    Please see Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 727 (S.D.

    Tex. 2013)(“Date of status” entry was “misleading in such a way and to such an extent

    that it can be expected to adversely affect credit decisions.”)

         50.       EXPERIAN and ARS should have discovered the misleading information

    if they would have provided a good faith reasonable investigation. Please see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 732 (S.D. Tex. 2013) (Toliver's

    EXPERIAN credit reports contained a “Date of status” that a reasonable jury could find

    misleading, and EXPERIAN “could have uncovered the inaccuracy ‘if it had reasonably

    reinvestigated the matter.’ ” DeAndrade, 523 F.3d at 68 (quoting Cushman, 115 F.3d at

    226).)

         51.       ARS also changed the Date “First Reported” and EXPERIAN allowed

    ARS to change the Date First Reported. There is only one first reported date. Please see

    Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 731 (S.D. Tex. 2013)

    (“First reported” entry is meant to reflect the date that the creditor first reported the

    account to EXPERIAN. EXPERIAN should know this date.); Please also see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 722 (S.D. Tex. 2013) (the “First

    reported” entry should reflect either the date that LVNV first reported the account on her

    credit report or the date that the debt was first reported as a major delinquency with ARS,

    the original creditor)

         52.       If EXPERIAN would have conducted a reasonable good faith

    investigation, they should have determined that ARS was changing dates that should not

    be changed and providing the bureaus with inaccurate data.             The re-aging and




                                                     14
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 15 of 41 PageID #: 247



    manipulating of the dates artificially lowered Plaintiffs’ credit scores more than if the

    accounts were being reported accurately as well as making the accounts seem more

    recently delinquent than they really are to potential creditors, causing Plaintiffs damage.

         The section entitled “Duty of Furnishers of Information Upon Notice of Dispute”
    under 15 U.S.C. §1681s-2(b) reads:

                     (1)    After receiving notice pursuant to section 1681i(a)(2) of this
               title of a dispute with regard to the completeness or accuracy of any
               information provided by a person to a consumer reporting agency, the person
               shall

                             (A)     conduct an investigation with respect to the disputed
                        information:

                               (B)  review all relevant information provided by the
                        consumer reporting agency pursuant to section 1681i(a)(2) of this
                        title;

                              (C)    report the results of the investigation to the consumer
                        reporting agency;

                              (D)    if the investigation finds that the information is
                        incomplete or inaccurate, report those results to all other consumer
                        reporting agencies to which the person furnished the information and
                        that compile and maintain files on consumers on a nationwide basis.

                              (E)      if an item of information disputed by a consumer is
                        found to be inaccurate or incomplete or cannot be verified after any
                        reinvestigation under paragraph (1), for purposes of reporting to a
                        consumer reporting agency only, as appropriate based on the results
                        of the reinvestigation promptly
                                 (i)         modify that item of information
                                 (ii)        delete that item of information
                                 (iii)        permanently block the reporting of
                                              that item of information

         53.       EXPERIAN is currently violating 15 U.S.C. §1681e(b), by not following

    reasonable procedures to assure maximum possible accuracy. EXPERIAN is allowing

    ARS to re-age both the “Date of Status” and “First Reported” dates to reflect more recent

    dates than legally accurate. If EXPERIAN had followed reasonable procedures to assure



                                                     15
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 16 of 41 PageID #: 248



    maximum accuracy, EXPERIAN would not be allowing ARS to re-age two important

    data fields on Plaintiffs’ credit files and even after the inaccurate reporting, EXPERIAN

    should have caught the inaccurate data once they were put on notice via Plaintiffs’

    dispute.

         54.       Plaintiff disputed information regarding their ARS Acct# ****8098 with

    and through EXPERIAN, on 05/31/2017.

         Each of these Plaintiffs disputed the inaccurate “Date of Status” and “First

    Reported/Reported Since” dates that were being reported on their EXPERIAN credit

    reports. ARS and EXPERIAN did not provide a good faith investigation into the disputed

    accounts as required by the Fair Credit Reporting Act.

         55.       The Plaintiff obtained their new credit reports on 06/17/2017 displaying

    the results of their dispute of the ARS account.

         56.       The Plaintiff received their results on the date listed above in the

    immediately preceding paragraph and not only did ARS and EXPERIAN not correct,

    modify or delete the disputed information on Plaintiffs’ Experian Credit Reports, but they

    changed the “Date of Status” and the “First Reported” dates due to Plaintiffs’ disputes.

    The changes for the Plaintiffs were as follows:

                       A) Date of Status Changed from 05/2017 to 06/2017;
                       B) First Reported Changed from 05/2017 to 06/2017.

               ARS is changing dates that should not be changed and EXPERIAN is allowing

    ARS to change dates based on Plaintiffs’ statutory right to dispute inaccurate credit

    information. ARS and EXPERIAN are penalizing Plaintiffs for exercising their statutory

    right to dispute inaccurate information on their credit reports. ARS and EXPERIAN are

    re-aging Plaintiffs’ ARS accounts with every dispute.



                                                       16
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 17 of 41 PageID #: 249



         57.       The date of status date should be the day the debt was deemed

    uncollectable. ARS changes those dates to re-age the account and EXPERIAN allows

    ARS to re-age the account by changing the date of status dates. Please see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 725 (S.D. Tex. 2013)(“‘Date of

    Status' is a date that should mark the day a debt was deemed uncollectible and thus

    charged off.” A creditor presented with Toliver's EXPERIAN credit report could

    reasonably interpret the “Date of Status” entry to mean exactly that”)

         58.       Re-aging accounts by changing the date of status dates are

         misleading. Please see Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d

    707, 727 (S.D. Tex. 2013) (“Date of Status” entry was “misleading in such a way and to

    such an extent that it can be expected to adversely affect credit decisions.”)

         59.       If EXPERIAN was following any, much less reasonable procedures to

    assure maximum accuracy, they would not allow such inaccurate reporting and once they

    were put on notice via a dispute, they should have fixed or corrected the false and

    misleading information.     EXPERIAN’S procedures are so bad or lacking that they

    continued to report obvious inaccurate data. Please see Toliver v. EXPERIAN Info.

    Solutions, Inc., 973 F. Supp. 2d 707, 732 (S.D. Tex. 2013) (Toliver's EXPERIAN credit

    reports contained a “Date of status” that a reasonable jury could find misleading, and

    EXPERIAN “could have uncovered the inaccuracy ‘if it had reasonably reinvestigated

    the matter.’ ” DeAndrade, 523 F.3d at 68 (quoting Cushman, 115 F.3d at 226).)

         60.       ARS also changed the Date “First Reported” and EXPERIAN allowed

    ARS to change the Date First Reported. There is only one first reported date. Please see

    Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 731 (S.D. Tex. 2013)




                                                     17
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 18 of 41 PageID #: 250



    (“First reported” entry is meant to reflect the date that the creditor first reported the

    account to EXPERIAN. EXPERIAN should know this date.); Please also see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 722 (S.D. Tex. 2013) (the “First

    reported” entry should reflect either the date that LVNV first reported the account on her

    credit report or the date that the debt was first reported as a major delinquency with ARS,

    the original creditor)

         61.       If EXPERIAN would have followed reasonable procedures to assure

    maximum accuracy, EXPERIAN would not have allowed ARS to re-age and change the

    “Date of Status” and “First Reported” dates on Plaintiff’s credit report just because

    Plaintiff exercised her statutory right to dispute her accounts.        The re-aging and

    manipulating of the dates artificially lowered Plaintiff’s credit score more than if the

    accounts were being reported accurately as well as making the accounts seem more

    recently delinquent than they really are to potential creditors, causing her damage.

    Experian’s standard is “maximum accuracy”

         Under 15 U.S.C. §1681e(b) reads:

                 (b)   Accuracy of the Report

                              Whenever a consumer reporting agency prepares a consumer
                        report it shall follow reasonable procedures as assure maximum
                        possible accuracy of the information concerning the individual about
                        whom the report relates

         62.      Experian must meet a very high standard for reporting accurate information

    on Consumers’ credit files/credit reports. The Fair Credit Reporting Act (FCRA) requires

    “maximum accuracy”, when reporting credit information on consumer’s credit reports.

    please see 15 USC §1681e(b); Please also see Miller v. Trans Union, LLC, 3:12-CV-

    1715, 2013 WL 5442008, at *5 (M.D. Pa. Aug. 14, 2013), report and recommendation



                                                    18
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 19 of 41 PageID #: 251



    adopted in part, 3:12-CV-01715, 2013 WL 5442059 (M.D. Pa. Sept. 27, 2013)(consistent

    with the broad remedial goals of the Act, it has been held that information which may be

    technically accurate may still give rise to liability under the FCRA if that information is

    misleading, since § 1681e(b) imposes a standard of “maximum possible accuracy” on

    credit reporting services. Often, “the distinction between ‘accuracy’ and ‘maximum

    possible accuracy’ is not nearly as subtle as may at first appear, it is in fact quite

    dramatic.” Cortez v. Trans Union, LLC, 617 F.3d 688, 709 (3d Cir.2010).)


    Experian is required to conduct a reasonable investigation when consumers dispute
    credit information and delete information that is inaccurate, incomplete or cannot be
    verified, pursuant 15 U.S.C. §1681i

       63. Fair Credit Reporting Act requires Credit Reporting Agencies, such as Experian,

    to conduct a reasonable investigation when consumers dispute credit information. Please

    see 15 U.S.C. §1681i(a)(1)(A). After a Credit Reporting Agency conducts a good faith

    and reasonable investigation, if the information is found to be inaccurate, incomplete or

    cannot be verified, 15 U.S.C. §1681i requires the item to be deleted. Please see Pinner v.

    Schmidt, 805 F.2d 1258, 1261–62 (5th Cir. 1986)(the FCRA imposes a duty upon

    reporting agencies to reinvestigate and to delete information found to be inaccurate or no

    longer verifiable once the consumer has protested the inclusion of the material. 15

    U.S.C.A. § 1681i.).

           64. When an account is disputed by a consumer, Experian generates an “ACDV”,

    which contains data and information on a consumer that is already “on profile” with

    Experian.   The other half of the ACDV is blank, allowing the data furnisher to

    change/edit/modify/delete or to continue report the exact same information that Experian

    already has “on profile”. After Experian receives the dispute from the consumer,



                                                    19
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 20 of 41 PageID #: 252



    Experian will send the ACDV, with Experian’s “on profile” information to the data

    furnisher to review. Once the data furnish receives the ACDV, the data furnisher will fill

    out their side, instructing how to report the account, and then they will send back to

    Experian.

    Experian has admitted they do not vet the information for accuracy

           65. Experian has admitted in the past that they do not vet the information for

    accuracy and will do nothing more than to replicate the information that the data

    furnisher provides to them.

    Parroting the information that Experian receives from the data furnisher is a “willful”
    violation

    66.    As argued above, Experian made shocking confessions that all they do is parrot

    the exact same information that the data furnishers give them. This is exactly what

    Experian did when Plaintiff disputed the accounts at issue in this litigation with Experian.

    That is not an investigation, it’s a verification. The case law is clear on this issue and it

    violates the Fair Credit Reporting Act; Dixon-Rollins v. Experian Info. Sols., Inc., 753 F.

    Supp. 2d 452, 463 (E.D. Pa. 2010)(It was not unreasonable for the jury to conclude that

    Trans Union willfully or recklessly violated the FCRA by doing nothing more than

    “parroting information” it received from ACCB. Cushman, 115 F.3d at 225 (“[A]

    ‘reinvestigation’ that merely shifts the burden back to the consumer and the credit grantor

    cannot fulfill the obligations contemplated by the statute.”); Campbell v. Chase

    Manhattan Bank, USA, N.A., No. 02–3489, 2005 WL 1514221, at *16 (D.N.J. June 27,

    2005) (parroting information received from original source may be considered a

    willful violation of the FCRA). Thus, there is no basis to disturb the jury's finding that

    Trans Union willfully or recklessly failed to comply with the FCRA.); please also see



                                                     20
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 21 of 41 PageID #: 253



    Cushman v. Trans Union Corp., 115 F.3d 220, 225 (3d Cir. 1997)(The “grave

    responsibility” imposed by § 1681i(a) must consist of something more than merely

    parroting information received from other sources. Therefore, a “reinvestigation” that

    merely shifts the burden back to the consumer and the credit grantor cannot fulfill the

    obligations contemplated by the statute.); please also see Pourfard v. Equifax Info.

    Services LLC, CIV 07-854-AA, 2010 WL 55446, at *4 (D. Or. Jan. 7, 2010)(However,

    “the caselaw is clear that a reporting agency does not act reasonably under the FCRA by

    deferring entirely to another source of information. The grave responsibility imposed by

    [the FCRA] must consist of something more than merely parroting information received

    from other sources.” Centuori v. Experian Info. Solutions, Inc., 431 F.Supp.2d 1002,

    1008 (D.Ariz.2006) (citing Cushman v. Trans Union Corp., 115 F.3d 220, 225 (3rd

    Cir.1997)). “In a reinvestigation of the accuracy of credit reports [pursuant to § 1681i(a)],

    a credit bureau must bear some responsibility for evaluating the accuracy of information

    obtained from subscribers.” Cushman, 115 F.3d at 224 (internal citation omitted). In

    Cushman, the court expressly rejected the identical argument made here by defendant:

    the consumer must resolve the problem with the creditor. Id. Rather, “[t]he statute places

    the burden of investigation squarely on” the consumer reporting agency. Id.)

    Experian has the burden of investigating disputes

           70.     Experian is trying to shift the burden of the investigation to the data

    furnishers “because it is their data”, which directly contradicts the FCRA. Please see

    Cushman v. Trans Union Corp., 115 F.3d 220, 225 (3d Cir. 1997)(We also agree with the

    cogent observation by the Fifth Circuit that the plain language of the statute places the

    burden of reinvestigation on the consumer reporting agency. See Stevenson, 987 F.2d at




                                                     21
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 22 of 41 PageID #: 254



    293. The FCRA evinces Congress's intent that consumer reporting agencies, having the

    opportunity to reap profits through the collection and dissemination of credit information,

    bear “grave responsibilities,” 15 U.S.C. § 1681(a)(4), to ensure the accuracy of that

    information. The “grave responsibility” imposed by § 1681i(a) must consist of something

    more than merely parroting information received from other sources. Therefore, a

    “reinvestigation” that merely shifts the burden back to the consumer and the credit

    grantor cannot fulfill the obligations contemplated by the statute.); please also see

    Sampson v. Equifax Info. Services, LLC, CIV.A. CV204-187, 2005 WL 2095092, at *5

    (S.D. Ga. Aug. 29, 2005)(To the contrary, a credit reporting agency does not conduct a

    reasonable investigation by deferring entirely to another source of information. The

    “grave responsibility” imposed by the FCRA reinvestigation requirement “must consist

    of something more than merely parroting information received from other sources.”

    Cushman v. Trans Union Corp., 115 F.3d 220, 225 (3d Cir.1997). “In a reinvestigation of

    the accuracy of credit reports, a credit bureau must bear some responsibility for

    evaluating the accuracy of information obtained from subscribers.” Stevenson, 987 F.2d

    at 293. The FCRA “places the burden of investigation squarely on” the reporting agency.

    Id.; see also Henson v. CSC Credit Servs., 29 F.3d 280, 286-87 (7th Cir.1994); Swoager

    v. Credit Bureau, 608 F.Supp. 972, 976 (M.D.Fla.1985).); Please also see Stevenson v.

    TRW Inc., 987 F.2d 288, 293 (5th Cir. 1993)(In a reinvestigation of the accuracy of

    credit reports, a credit bureau must bear some responsibility for evaluating the accuracy

    of information obtained from subscribers. See Swoager v. Credit Bureau of Greater St.

    Petersburg, Fla., 608 F.Supp. 972, 976 (M.D.Fla.1985).)


    Fifth Circuit: Experian has the responsibility for evaluation the accuracy of the
    information obtained from ARS


                                                     22
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 23 of 41 PageID #: 255




         71. The Fifth Circuit has ruled that Experian has the responsibility to evaluate the

    information that the date furnisher gives them. Please see Stevenson v. TRW Inc., 987

    F.2d 288, 293 (5th Cir. 1993)(In a reinvestigation of the accuracy of credit reports, a

    credit bureau must bear some responsibility for evaluating the accuracy of information

    obtained from subscribers. See Swoager v. Credit Bureau of Greater St. Petersburg, Fla.,

    608 F.Supp. 972, 976 (M.D.Fla.1985).)

          72. As argued above, Experian made shocking confessions that they will report

              any

    information that data furnishers provide them because they have a “signed a contract”

    with them. That is the equivalent of putting the fox in the hen house. In Experian’s own

    words, they have no oversight into the accuracy of the data they are receiving and

    reporting. To make matters worse, Experian will not correct/modify or delete the

    inaccurate information once the consumer disputes it if the data furnisher instructs them

    not to. To quote Experian’s Representative, “Well, the data furnisher is the best entity to

    know what is correct about their information that they're reporting, so the data furnisher,

    if they want to change it, that would be up to them. We don't tell a data furnisher what

    they're supposed to report to us.” Please see Exhibit 35 at p.2.

    Experian is responsible for the information in their files

           73.      Experian has admitted that they “don’t tell a data furnisher what they’re

    supposed to report to us”. Experian is responsible for the information in their files. The

    plain language of the FCRA places the burden of reinvestigation on the consumer

    reporting agency. Please see Cortez v. Trans Union, LLC, 617 F.3d 688, 710-11 (3d Cir.

    2010)(Trans Union remains responsible for the accuracy in its reports under the



                                                     23
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 24 of 41 PageID #: 256



    FCRA and it cannot escape that responsibility as easily as it suggests here. Congress

    clearly intended to ensure that credit reporting agencies exercise care when deciding to

    associate information with a given consumer, and the record clearly supports the jury's

    determination that Trans Union did not exercise sufficient care here. See Philbin, 101

    F.3d at 966.); please also see Saenz v. Trans Union, LLC, 621 F. Supp. 2d 1074, 1083 (D.

    Or. 2007)(The plain language of the [FCRA] places the burden of reinvestigation on the

    consumer reporting agency. The FCRA evinces Congress's intent that consumer reporting

    agencies, having the opportunity to reap profits through the collection and dissemination

    of credit information, bear “grave responsibilities,” 15 U.S.C. § 1681(a)(4), to ensure the

    accuracy of that information. The “grave responsibility” imposed by § 1681i(a) must

    consist of something more than merely parroting information received from other

    sources. Therefore, a “reinvestigation” that merely shifts the burden back to the

    consumer and the credit grantor cannot fulfill the obligations contemplated by the

    statute. In addition to these observations, we note that [Trans Union]'s reading of §

    1681i(a) would require it only to replicate the efforts it must undertake in order to comply

    with § 1681e(b). Such a reading would render the two sections largely duplicative of each

    other. We strive to avoid a result that would render statutory language superfluous,

    meaningless, or irrelevant.); please also see Cortez v. Trans Union, LLC, 617 F.3d 688,

    710 (3d Cir. 2010)(Congress surely did not intentionally weave an exception into the

    fabric of the FCRA that would destroy its remedial scheme by allowing a credit

    reporting agency to escape responsibility for its carelessness whenever misleading

    information finds its way into a credit report through the agency of a third party.




                                                    24
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 25 of 41 PageID #: 257



    Thus, Trans Union's argument that it does not control the accuracy of the SDN List

    is as misleading as the information it provided about Cortez.).

       ACDV not good enough to “investigate” consumer’s disputes

          74. When Plaintiff disputed the ARS account with Experian, Experian didn’t do

    anything other than to send a computerized form called an ACDV over to ARS. The

    ACDV showed the information that Experian had “on profile” and asked ARS to either

    verify the information, edit/modify or to remove/delete the account as ARS deems

    necessary. Experian knew, because of their contract with ARS, that they would report

    anything ARS provides to them.

       75. Experian has already had a ruling against them for not going beyond the ACDV

    regarding this exact same issue as being alleged in this case. In Toliver, Experian

    changed Toliver’s First Reported and Date of Status each time she disputed the account.

    Please see Toliver v. Experian Info. Sols., Inc., 973 F. Supp. 2d 707, 731 (S.D. Tex.

    2013)(Going beyond LVNV's response to the ACDVs in this case may not have involved

    much more than comparing the date to Experian's own records or clarifying the meaning

    of the “First reported” entry to LVNV and asking for a response that accurately reflected

    the date that the account was first reported to Experian. The evidence produced suggests

    that LVNV updated the “First reported” entry at least as often as Toliver disputed the

    accuracy of the LVNV account. A reasonable jury could conclude that Experian should

    have known that an account being disputed by the consumer could not have been “First

    reported” on the date that the creditor replied to its ACDVs. Thus, Experian is not

    entitled to summary judgment on Toliver's § 1681i(a) claims regarding the “First

    reported” entry.).




                                                  25
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 26 of 41 PageID #: 258



          76. The Fifth Circuit, District Courts in Texas as well as federal courts across the

    country has ruled that relying on the ACDV is not an investigation. Please see Stevenson

    v. TRW Inc., 987 F.2d 288, 293 (5th Cir. 1993) (TRW relied solely on the CDVs

    despite the number of disputed accounts and the allegations of fraud. TRW also

    relied on the subscribers to tell TRW whether to delete information from

    Stevenson's report. In a reinvestigation of the accuracy of credit reports, a credit

    bureau must bear some responsibility for evaluating the accuracy of information

    obtained from subscribers. See Swoager v. Credit Bureau of Greater St. Petersburg,

    Fla., 608 F.Supp. 972, 976 (M.D.Fla.1985).); please also see Pace v. Experian Info. Sols.

    Inc., CIV.A. 2:03-CV-45, 2004 WL 1057795, at *2 (E.D. Tex. Apr. 28, 2004)(When a

    credit reporting agency receives notice of inaccurate information from a consumer,

    § 1681i(a) imposes a duty on the agency to reinvestigate the accuracy of the

    information. In this circuit, the law is clear that “in a reinvestigation of the accuracy

    of credit reports, a credit bureau must bear some responsibility for evaluating the

    accuracy of information obtained from subscribers.” Stevenson v. TRW, Inc., 987

    F.2d 288 (5th Cir.1998)(affirming finding of negligence where credit reporting

    agency relied exclusively on consumer dispute verification forms (CDVs) when

    discharging its reinvestigation duties); please also see Zala v. Trans Union, LLC, CIV.

    A. 3:99-CV-0399, 2001 WL 210693, at *5 (N.D. Tex. Jan. 17, 2001)(In Stevenson v.

    TRW Inc., 987 F.2d 288, 293 (5th Cir.1993), the Fifth Circuit held that a consumer

    reporting agency that relied solely on subscribers' written consumer dispute

    verification forms rather than contacting the subscribers directly was negligent. The

    court noted that even though the credit agency was unable to verify some disputed




                                                   26
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 27 of 41 PageID #: 259



    accounts, it failed to remove those disputed accounts from the credit report. Id. Rejecting

    as insufficient the credit agency's practice of relying on the consumer to resolve the

    problem with the creditor, the court stated that “[i]n a reinvestigation of the

    accuracy of credit reports, a credit bureau must bear some responsibility for

    evaluating the accuracy of information obtained from subscribers.” Id. ). Courts

    across the country have also ruled that relying only on ACDVs does not constitute an

    investigation in to consumer’s disputes. please also see White v. Trans Union, LLC, 462

    F. Supp. 2d 1079, 1083 (C.D. Cal. 2006)(TransUnion seeks to deflect responsibility for

    this inaccuracy to the creditors upon whom it relies for information and falls back on

    its assertion that “a creditor is in a better position than a consumer reporting agency

    with regard to the ability to detect and correct errors in the reporting of a

    consumer's account.” Def.'s Mot. to Dismiss Pls.' Second Am. Consolidated Class

    Comp. 13:12-14. This hardly suffices to establish, as a matter of law, that a

    “reasonable reinvestigation” amounts to an inquiry that goes only to confirmation

    of the accuracy of information from its original source. Cushman v. Trans Union

    Corp., 115 F.3d 220, 225 (3d Cir.1997) (“The ‘grave responsibility’ imposed by §

    1681i(a) must consist of something more than merely parroting information received

    from other sources. Therefore, a ‘reinvestigation’ that merely shifts the burden back to

    the consumer and the credit grantor cannot fulfill the obligations contemplated by the

    statute.”); see also Henson v. CSC Credit Servs., 29 F.3d 280, 286-87 (7th Cir.1994);

    Stevenson v. TRW, Inc., 987 F.2d 288, 293 (5th Cir.1993); McKeown v. Sears Roebuck &

    Co., 335 F.Supp.2d 917, 930 (W.D.Wis.2004); please also see Dixon-Rollins v. Experian

    Info. Sols., Inc., 753 F. Supp. 2d 452, 465 (E.D. Pa. 2010)(the Third Circuit instructed




                                                    27
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 28 of 41 PageID #: 260



    Trans Union that it may not just repeat information it receives from the original

    source, but must do more to verify the credit information. Cushman, 115 F.3d at 225.

    Since Cushman was decided, Trans Union has been repeatedly warned of its statutorily

    required obligation in conducting a reinvestigation, see e.g., Krajewski, 557 F.Supp.2d at

    616; Crane, 282 F.Supp.2d at 320; Lawrence, 296 F.Supp.2d at 589; Saenz v. Trans

    Union, LLC, 621 F.Supp.2d 1074, 1083 (D.Or.2007) (Trans Union must do more than

    parrot information received by original source); Lambert v. Beneficial Mortgage

    Corp., No 05–5468, 2007 WL 1309542, at *2 (W.D.Wash. May 7, 2007) (in certain

    circumstances a consumer reporting agency may need to verify the accuracy of its initial

    source of information) (citations omitted), and found liable for noncompliance. See, e.g.,

    Mullins v. Equifax Info. Servs., LLC, No. 05–888, 2007 WL 2471080, at *7 n. 11

    (E.D.Va. Aug. 27, 2007).7 Thus, because Trans Union has been warned of its

    inadequate reinvestigation practices in prior cases, it may be considered a repeat

    FCRA offender. See Willow Inn, Inc. v. Public Serv. Mut. Ins. Co., 399 F.3d 224, 232

    (3d Cir.2005) (recidivist behavior relates to defendant's conduct as to non-parties). Trans

    Union's refusal to modify its reinvestigation procedures and insistence on

    mimicking the original sources' responses supports the conclusion that punitive

    damages are necessary to deter future violations. “Evidence that a defendant has

    repeatedly engaged in prohibited conduct while knowing or suspecting that it was

    unlawful would provide relevant support for an argument that strong medicine is

    required to cure the defendant's disrespect for the law.” BMW of N. Am., Inc. v. Gore,

    517 U.S. 559, 576–77, 116 S.Ct. 1589, 134 L.Ed.2d 809 (1996). Thus, because Trans

    Union has continued to disregard its obligations despite clear judicial rulings and




                                                    28
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 29 of 41 PageID #: 261



    warnings, its conduct is more reprehensible than that of a first- time offender,

    requiring more severe punishment. Id. at 577, 116 S.Ct. 1589.); please see Grigoryan

    v. Experian Info. Sols., Inc., 84 F. Supp. 3d 1044, 1074–75 (C.D. Cal. 2014)(It is well

    settled that exclusive reliance on ACDV procedures does not suffice, as a matter of law,

    to establish that a “reasonable investigation” took place once a consumer disputes the

    accuracy of the furnisher's information. See Bradshaw v. BAC Home Loans Servicing,

    LP, 816 F.Supp.2d 1066, 1073–74 (D.Or.2011) (“Many courts, including this one, have

    concluded that where a CRA is affirmatively on notice that information received from a

    creditor may be suspect, it is unreasonable as a matter of law for the agency to simply

    verify the creditor's information through the ACDV process without additional

    investigation”); White v. Trans *1075 Union, LLC, 462 F.Supp.2d 1079, 1083

    (C.D.Cal.2006) (“TransUnion seeks to deflect responsibility for this inaccuracy to the

    creditors upon whom it relies for information and falls back on its assertion that ‘a

    creditor is in a better position than a consumer reporting agency with regard to the ability

    to detect and correct errors in the reporting of a consumer's account.’ ... This hardly

    suffices to establish, as a matter of law, that a ‘reasonable reinvestigation’ amounts to an

    inquiry that goes only to confirmation of the accuracy of information from its original

    source”); see also Cushman v. Trans Union Corp., 115 F.3d 220, 225 (3d Cir.1997) (“The

    ‘grave responsibility’ imposed by § 1681i(a) must consist of something more than merely

    parroting information received from other sources”); Apodaca v. Discover Fin. Servs.,

    417 F.Supp.2d 1220, 1230–31 (D.N.M.2006) (noting that credit reporting agencies may

    not rely on automated procedures that make only superficial inquiries once the consumer

    has notified it that information is disputed).




                                                     29
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 30 of 41 PageID #: 262




    Willful

          77. To prove willful, Plaintiff just has to show that Experian was reckless, malice

                is

    not needed. please see Hedlund v. Hooters of Houston, CIV.A.2:08-CV-45, 2008 WL

    2065852, at *3 (N.D. Tex. May 13, 2008)(The Supreme Court has held that “willful”,

    as used in the FCRA, includes a knowing or reckless disregard of the law. Safeco Ins.

    Co. of America v. Burr, --- U.S. ----, ----, 127 S.Ct. 2201, 2208, 167 L.Ed.2d 1045 (2007).

    Plaintiffs have met their burden under Rule 12(b)(6). ); please also see Cousin v. Trans

    Union Corp., 246 F.3d 359 (5th Cir. 2001)(Malice or evil motive need not be established

    for a punitive damages award under Fair Credit Reporting Act (FCRA), but the violation

    must have been willful. Consumer Credit Protection Act, § 616(a)(2), as amended, 15

    U.S.C.A. § 1681n(a)(2).)

              78.    With Experian’s shocking confession of their over the top failure to

    comply with any part of the FCRA and their flagrant systematic disregard to the federal

    laws that Congress created to assure that consumers have accurate credit reports is as

    intentional as it gets and at a bare minimum “reckless”. Experian completely lacks any

    resemblance of having procedures and policies that would assure any form accuracy,

    much less their required standard of “maximum accuracy”. Experian willfully violated

    their statutory obligation to provide a reasonable investigation in to Plaintiffs’’ disputes,

    pursuant to 15 U.S.C. §1681i. Experian willfully violated their statutory duty to follow

    procedures to assure “maximum accuracy” as well as their failure to conduct a reasonable

    investigation.




                                                     30
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 31 of 41 PageID #: 263



    Fifth Circuit Standard of Inaccuracy

           79. The Fifth Circuit has ruled directly on what can make a credit entry

               inaccurate.

    The Fifth Circuit standard of an inaccurate credit entry is that it can be “patently

    incorrect” or “misleading in such a way and to such an extent that it can be expected to

    adversely affect credit decisions”. It is interesting to note that the Fifth Circuit standard is

    that if it “can” adversely affect credit decisions, not that it did adversely affect credit

    decisions. please see Sepulvado vs. CSC Credit Services, 158 F.3d 890, 895-96 (5th Cir.

    1988) (A credit entry may be “inaccurate” within the meaning of the statute either

    because it is patently incorrect, or because it is misleading in such a way and to such an

    extent that it can be expected to adversely affect credit decisions”.); please also see

    Saunders v. Branch Banking & Tr. Co. Of VA, 526 F.3d 142, 148–49 (4th Cir. 2008)(Of

    particular relevance here, in Dalton we addressed the duty of a CRA to report accurately

    pursuant to § 1681e. 257 F.3d at 415. We held that a report “is inaccurate” not only

    “when it is ‘patently incorrect’ ” but also “when it is ‘misleading in such a way and to

    such an extent that it can be expected to [have an] adverse[ ]’ effect.” Id. (quoting

    Sepulvado v. CSC Credit Servs., 158 F.3d 890, 895 (5th Cir.1998)). Thus, we held that a

    consumer report that contains technically accurate information may be deemed

    “inaccurate” if the statement is presented in such a way that it creates a misleading

    impression. See id. at 415–16. The Fifth Circuit reached a similar conclusion, affirming a

    jury verdict finding a CRA's report inaccurate when the report described an account as

    “[l]itigation [p]ending,” because the report omitted the fact that the consumer, as opposed




                                                      31
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 32 of 41 PageID #: 264



    to the creditor/furnisher, had *149 brought suit. See Pinner v. Schmidt, 805 F.2d 1258,

    1262–63 (5th Cir.1986).)).

           80.     Experian is reporting first reported dates and date of status dates that they

    know are not only false and inaccurate on their face, but that are also misleading.

           81.     There isn’t any way that Experian’s reporting of re-aged dates could ever

    be deemed Accurate, using ether the patently inaccurate or misleading standard. Experian

    has been on notice since 2013 of their reporting problems.

           82.         Experian has been on notice of the alleged facts since Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 732 (S.D. Tex. 2013).

            83.    Experian cannot deny that they allowed the first reported and the date of

    status dates be improperly and illegally re-age, just because the Plaintiffs’ disputed their

    accounts. Furthermore, Experian is even letting ARS change the Dates of Status and

    Dates First Reported in the months that Plaintiff has not disputed the ARS account by and

    through Experian. This means Experian has no reasonable procedure in place to prevent a

    debt collector from incorrectly changing consumers’ Dates of Status and First Reported

    Dates on a monthly basis to affect consumers’ credit scores negatively. This is far from a

    reasonable procedure to ensure maximum accuracy.

                           Count II: Fair Debt Collection Act

         Plaintiff incorporates the foregoing paragraphs as though the same were set

         forth at length herein.

           84.     ARS violated 15 U.S.C. §1692e(2)(A) by falsely representing the

    character and/or the legal status of the alleged debt. ARS re-aged both the “date of

    status” and “first reported” dates to more recent dates than legally accurate. By re-aging




                                                    32
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 33 of 41 PageID #: 265



    both dates, ARS violated 15 U.S.C. §1692e(2)(A). The re-aging and manipulating of the

    dates is falsely representing the character of the debt by re-aging the debt and making it

    look much more recent than it really is. The more recent the debt the more it damages

    credit scores, severely damaging Plaintiff’s credit score. Potential lenders look at how

    recent delinquencies are on a credit report when evaluating loan risks, the more recent the

    delinquency the higher the financial risk. The re-aging of the accounts makes the older

    accounts look new again and thus at a higher risk for default.

          15 U.S.C. §1692e “False or Misleading Representation”

                  A debt collector may not use any false, deceptive, or misleading
            representation or means in connection with the collection of any debt. Without
            limiting the general application of the foregoing, the following conduct is a
            violation of this section:

                  (2) The false representation of—
                       (A) the character, amount, or legal status of any debt

          85.     ARS violated 15 U.S.C. §1692e(8) by reporting credit information to

    EXPERIAN that they knew or should have known to be false. ARS reported information

    that they know or should have known to be false when they re-aged both the date of

    status and first reported dates on Plaintiff’s credit report.

          86.       Plaintiff disputed information regarding their ARS Acct# ****8098 with

    and through EXPERIAN on 05/31/2017.

          Each of these Plaintiffs disputed the inaccurate “Date of Status” and “First

    Reported/Reported Since” dates that were being reported on their EXPERIAN credit

    reports. ARS and EXPERIAN did not provide a good faith investigation into the disputed

    accounts as required by the Fair Credit Reporting Act.




                                                       33
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 34 of 41 PageID #: 266



         87.       The Plaintiff obtained a new credit report on 06/17/2017 displaying the

    results of their dispute of the ARS account.

         88.       The Plaintiff received their results on the date listed above in the

    immediately preceding paragraph and not only did ARS and EXPERIAN not correct,

    modify or delete the disputed information on Plaintiffs’ Experian Credit Reports, but they

    changed the “Date of Status” and the “First Reported” dates due to Plaintiffs’ disputes.

    The changes for the Plaintiffs were as follows:

           A)      Date of Status Changed from 05/2017 to 06/2017;
           B)      First Reported Changed from 05/2017 to 06/2017.


               ARS is changing dates that should not be changed and EXPERIAN is allowing

    ARS to change dates based on Plaintiffs’ statutory right to dispute inaccurate credit

    information. ARS and EXPERIAN are penalizing Plaintiffs for exercising their statutory

    right to dispute inaccurate information on their credit reports. ARS and EXPERIAN are

    re-aging Plaintiffs’ ARS accounts with every dispute.

         89.       The date of status date should be the day the debt was deemed

    uncollectable. ARS changes those dates to re-age the account and EXPERIAN allows

    ARS to re-age the account by changing the date of status dates. Please see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 725 (S.D. Tex. 2013)(“‘Date of

    Status' is a date that should mark the day a debt was deemed uncollectible and thus

    charged off.” A creditor presented with Toliver's EXPERIAN credit report could

    reasonably interpret the “Date of status” entry to mean exactly that”)

         90.       Re-aging accounts by changing the date of status dates are misleading.

    Please see Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 727 (S.D.




                                                      34
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 35 of 41 PageID #: 267



    Tex. 2013)(“Date of Status” entry was “misleading in such a way and to such an extent

    that it can be expected to adversely affect credit decisions.”)

         91.       EXPERIAN and ARS should have discovered the misleading information

    if they would have provided a good faith reasonable investigation and corrected the

    information. They are communicating information they know or should know to be

    inaccurate. Please see Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707,

    732 (S.D. Tex. 2013)(Toliver's EXPERIAN credit reports contained a “Date of Status”

    that a reasonable jury could find misleading, and EXPERIAN “could have uncovered the

    inaccuracy ‘if it had reasonably reinvestigated the matter.’ ” DeAndrade, 523 F.3d at 68

    (quoting Cushman, 115 F.3d at 226).)

         92.       ARS also changed the Date “First Reported” and EXPERIAN allowed

    ARS to change the Date First Reported. There is only one first reported date. Please see

    Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 731 (S.D. Tex. 2013)

    (“First reported” entry is meant to reflect the date that the creditor first reported the

    account to EXPERIAN. EXPERIAN should know this date).; Please also see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 722 (S.D. Tex. 2013) (the “First

    reported” entry should reflect either the date that LVNV first reported the account on her

    credit report or the date that the debt was first reported as a major delinquency with

    Sears, the original creditor)

         93.     The re-aging and manipulating of the dates artificially lowered Plaintiff’s

    credit score more than if the accounts were being reported accurately as well as making

    the accounts seem more recently delinquent than they really are to potential creditors,

    causing her damage.




                                                     35
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 36 of 41 PageID #: 268



         15 U.S.C. §1692e “False or Misleading Representation” reads:

                 (8) Communicating or threatening to communicate to any person credit
           information which is known or which should be known to be false, including the
           failure to communicate that a disputed debt is disputed.


         94.       ARS violated Federal Statutes 15 U.S.C. §1692e(10) and 15 U.S.C

    §1692f. Defendant falsely and deceptively re-aged the alleged accounts on Plaintiff’s

    credit report. ARS intentionally violated 15 U.S.C. §1692 by false and deceptively re-

    aged accounts in order to collect a debt. By re-aging dates, ARS has intentionally

    violated 15 U.S.C. §1692 by false and deceptively re-aged accounts in order to collect a

    debt, which is an unfair and unconscionable act. The more recent the delinquency, the

    more it negatively effects credit ratings and scores.

         95.       Plaintiff disputed information regarding their ARS Acct# ****8098 with

    and through EXPERIAN on 05/31/2017.

         Plaintiff disputed the inaccurate “Date of Status” and “First Reported/Reported

    Since” dates that were being reported on their EXPERIAN credit report. ARS and

    EXPERIAN did not provide a good faith investigation into the disputed accounts as

    required by the Fair Credit Reporting Act.

         96.       The Plaintiff obtained a new credit report from Experian on 06/17/2017

    displaying the results of their dispute of the ARS account.

         97.       The Plaintiff received their results on the dates listed above in paragraph

    74 and not only did ARS and EXPERIAN not correct, modify or delete the disputed

    information on Plaintiffs’ Experian Credit Reports, but they changed the “Date of Status”

    and the “First Reported” dates due to Plaintiffs’ disputes. The changes for the Plaintiffs

    were as follows:



                                                     36
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 37 of 41 PageID #: 269



                           Date of Status Changed from 05/2017 to 06/2017;
                           First Reported Changed from 05/2017 to 06/2017.

     ARS is changing dates that should not be changed and EXPERIAN is allowing

    ARS to change dates based on Plaintiffs’ statutory right to dispute inaccurate credit

    information. ARS and EXPERIAN are penalizing Plaintiffs for exercising their

    statutory right to dispute inaccurate information on their credit reports. ARS and

    EXPERIAN are re-aging Plaintiffs’ ARS accounts with every dispute.

         98.       The date of status date should be the day the debt was deemed

    uncollectable. ARS changes those dates to re-age the account and EXPERIAN allows

    ARS to re-age the account by changing the date of status dates. Please see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 725 (S.D. Tex. 2013)(“‘Date of

    Status' is a date that should mark the day a debt was deemed uncollectible and thus

    charged off.” A creditor presented with Toliver's EXPERIAN credit report could

    reasonably interpret the “Date of Status” entry to mean exactly that”)

         99.       Re-aging accounts by changing the date of status dates are misleading.

    Please see Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 727 (S.D.

    Tex. 2013)(“Date of Status” entry was “misleading in such a way and to such an extent

    that it can be expected to adversely affect credit decisions.”)

         100.      ARS is re-aging their accounts to hurt Plaintiffs’ credit which is an unfair,

    unconscionable false and misleading debt collection methods in an attempt to collect and

    alleged debt. Please see Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707,

    732 (S.D. Tex. 2013)(Toliver's EXPERIAN credit reports contained a “Date of Status”

    that a reasonable jury could find misleading, and EXPERIAN “could have uncovered the




                                                     37
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 38 of 41 PageID #: 270



    inaccuracy ‘if it had reasonably reinvestigated the matter.’ ” DeAndrade, 523 F.3d at 68

    (quoting Cushman, 115 F.3d at 226).)

         101.      ARS also changed the Date “First Reported” and EXPERIAN allowed

    ARS to change the First Reported Date. There is only one first reported date. Please see

    Toliver v. EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 731 (S.D. Tex. 2013)

    (“First reported” entry is meant to reflect the date that the creditor first reported the

    account to EXPERIAN. EXPERIAN should know this date.); Please also see Toliver v.

    EXPERIAN Info. Solutions, Inc., 973 F. Supp. 2d 707, 722 (S.D. Tex. 2013) (the “First

    reported” entry should reflect either the date that LVNV first reported the account on her

    credit report or the date that the debt was first reported as a major delinquency with

    Sears, the original creditor)

         102.      The re-aging and manipulating of the dates artificially lowered Plaintiffs’

    credit scores more than if the accounts were being reported accurately as well as making

    the accounts seem more recently delinquent than they really are to potential creditors,

    causing plaintiffs damage. The conduct of ARS through the re-aging of accounts and

    violating multiple Fair Debt Collection laws is an unfair and unconscionable means to

    collect an alleged debt.


         15 U.S.C. §1692e “False or Misleading Representation” reads:

                 (10) The use of any false representation or deceptive means to collect
                 or attempt to collect any debt or to obtain information concerning a
                 consumer.

         And;

         The section entitled “Unfair practices” under 15 U.S.C §1692f reads;




                                                   38
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 39 of 41 PageID #: 271



                          A debt collector may not use unfair or unconscionable means to
                    collect or attempt to collect any debt.

        103.        The conduct of EXPERIAN and ARS were a direct and proximate cause,

    as well as a substantial factor in bringing about the serious injuries, damages and harm to

    Plaintiff that are outlined above and, as a result, Defendants are liable to compensate

    Plaintiff for the full amount of actual, statutory, compensatory and punitive damages, as

    well as such other relief, permitted by law.

        104.      As a result of Defendants’ conduct, Plaintiff has suffered

        emotional and mental pain and anguish, and all to Plaintiffs great detriment and loss.

        105.      As a result of Defendants’ conduct, Plaintiffs have suffered actual damages

    are all to Plaintiffs great detriment and loss.

          106.    At all times pertinent hereto, Defendants were acting by and through their

    agents, servants, and/or employees who were acting within the course and scope of their

    agency or employment, and under the direct supervision and control of the Defendant

    herein.

          107. At all times pertinent hereto, the conduct of the Defendants, as well as that of

    their agents, servants and/or employees, was malicious, intentional, willful, reckless, and

    in grossly negligent disregard for federal and state laws and the rights of the Plaintiff

    herein.

          DEMAND FOR JURY TRIAL

           108. Plaintiffs demand trial by jury.

          PRAYER FOR RELIEF

              WHEREFORE, the Plaintiffs seek judgment in Plaintiffs’ favor and damages

    against the Defendants EXPERIAN and ARS, based on the following requested relief:



                                                      39
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 40 of 41 PageID #: 272



                     (a)   Actual damages pursuant to 15 U.S.C. §1681

                     (b)   Statutory damages pursuant to 15 U.S.C. §1681

                     (c)   Punitive damages pursuant to 15 U.S.C. §1681

                     (d)   Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1681n,

               §1681o

                     (e)Such other and further relief as may be necessary, just and proper.

    Dated: May 15, 2019

                 Respectfully submitted,

                    /s/ Dennis McCarty
                   Dennis McCarty
                   ATTORNEY FOR PLAINTIFF
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                                  CERTIFICATE OF SERVICE

           I hereby certify that on May 15, 2019, I electronically filed the foregoing with the
    Clerk of Court using the CM/ECF system which will send notification of such filing to
    the attorneys on record:

    Date Signed May 15, 2019




                                                     40
Case 4:19-cv-00189-SDJ-KPJ Document 7 Filed 05/15/19 Page 41 of 41 PageID #: 273



    /s/ Dennis McCarty
    Dennis McCarty




                                         41
